
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a2163-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a1263-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a2613-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a2160-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2166-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2133-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2167-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2663-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2169-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2183-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2563-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2143-15.pdf (mistyped character)


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